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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
IN ADl\/IIRALITY

GABRIEL LUBOWSKI,
CASE NO: 2:16'7562
Plaintiff,

VS.

CRYSTAL CRUISES, INC., a
California corporation, and ANA MARIA

 

DEBREY DIAZ,
Defendants.
/
COMPLAINT

Plaintiff, GABRIEL LUBOWSKI, sues Defendants CRYSTAL CRUISES, INC. and

ANA MARIA DEBREY DIAZ and says:

JURISDICTION
l. This Court has jurisdiction over this action pursuant t0 28 USC §1333.
VENUE
2. Venue of this proceeding is proper in the Central District of California because

the ticket contract between the Plaintiff and Defendant, Crystal, contains a forum selection

clause selecting the Central District of California as the venue for any action brought against that

Defendant.
PARTIES
3. Plaintift`, Gabriela Lubowski, is a resident of the State of Florida, over the age of
18 years and sui juris in all other respects
4. At all times material hereto, Defendant, Crystal Cruises, Inc., was the owner,

operator, manager and in control of the cruise ship “Crystal Serenity”.

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5. Defendant, Ana Maria Debrey Diaz, is a resident of the State of Florida, over the
age of 18 years and Sui juris in all other respects

COUNT l
CLAIM AGAINST CRYSTAL CRUISES. INC.

6. At all times material hereto, Defendant, Crystal Cruises, Inc., owned and operated
a passenger cruise ship known as the “Crystal Serenity”.

7. On or about January 8, 2015, Plaintiff Was a passenger on the Crystal Serenity,
occupying stateroom/cabin number 7050.

3. On or about January 8, 2015_, Defendant, Ana Maria Debrey Diaz, was a
passenger on the Crystal Serenity, occupying stateroom/cabin number 7044.

9. At all times material hereto, Defendant, Crystal Cruises, owed Plaintiff a duty to
exercise reasonable care as was permitted by the circumstances for Plaintiff’s safety while
Plaintiff was aboard the Crystal Serenity and at all other times during Plaintift" s cruise.

lO. At all times material hereto, Defendant, Ana Maria Debrey Diaz, was also a
passenger on Defendant’s cruise ship, Crystal Serenity and was owed the same duty.

ll. On January 8, 20]5, while on board the Crystal Serenity, Plaintiff was seriously

injured when Defendant, Ana Maria Debrey Diaz, tripped and fell over a metal plate in the

hallway on deck 7 of Defendant’s cruise ship. At the time she fell, Defendant, Ana Maria Debrey
Diaz, fell into Gabriel Lubowski pushing her to the deck and causing Plaintiff severe personal
injuries.

12. The metal plate on the deck floor that Defendant, Ana Maria Debrey Diaz, tripped
over constituted a dangerous and hazardous condition and breached Defendant, Crystal Cruises
duty to exercise reasonable care as Was permitted by the circumstances for Plaintift’s safety and

for the safety of Ana Maria Debrey Diaz.

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13. Defendant, Crystal Serenity, breached its duty to the Plaintiff, and to Defendant
Ana Maria Debrey Diaz, by negligently and carelessly allowing a dangerous and hazardous

condition to exist on the deck floor causing personal injuries to the Plaintiff.

14. At all times material hereto, the subject deck was in the sole and exclusive control
of the Dei`endant Crystal Cruises.

15. Defendant Crystal had actual and/or constructive knowledge of this dangerous
condition.

16. As a direct and proximate result of Defendant Crystal Cruise’s negligence,
Plaintiff suffered bodily injury and resulting pain and suffering, disability, disfigurement, mental
anguish, loss of the capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earnings, loss of ability to earn money, and/or aggravation of
a previously existing condition These losses are either permanent and/or continuing in nature
and the Plaintiff will suffer from these losses and impairment in the future.

COUN'I` ll
CLAIM AGAINST ANA MARIA DEBREY DIAZ

ln the alternative, Plaintiff sues Defendant, Ana Maria Debrey Diaz, and says:

17. On or about January 8, 2015` Plaintiff. Gabriela Lubowski, and Defendant, Ana
Maria Debrey Diaz, were passengers on Defendant, Crystal Cruises, Ltd.’s, cruise ship “Crystal
Serentity”.

18. On or about January 8, 2015, Defendant, Ana Maria Debrey Diaz, negligently and
carelessly tripped and fell over a metal plate in the hallway on deck 7.

19. At the time Defendant tripped, Plaintiff, Gabriela Lubowski, was walking in front
of Defendant Diaz. Defendant Diaz tripped and fell into Plaintiff Lubowksi causing her severe

personal injuries

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20. As a direct and proximate result of Defendants’ negligence, Plaintiff suffered
bodily injury and resulting pain and suffering, disability, disfigurement, mental anguish, loss of
the capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatment, loss of earnings, loss of ability to earn money, and/or aggravation of a previously
existing condition These losses are either permanent and/or continuing in nature and the
Plaintiff will suffer from these losses and impairment in the future.

WHEREFORE, Plaintiff demands judgment for damages against Defendants and for such
and further relief as the Court deems just and proper in these premises

DATED this L/_ day of October 2016.

 

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